                   Case
                    Case1:23-cv-00142-DKG
                          1:23-cv-00142-BLW Document
                                             Document16-31
                                                      79 Filed
                                                           Filed04/18/23
                                                                 04/06/23 Page
                                                                           Page1 1ofof2 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                        District
                                                __________       of Idaho
                                                           District  of __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:23-cv-00142-DKG
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: 04/06/2023
                                                                                     Signature of Clerk or Deputy Clerk

                                                                                                 HaileyStevason
                                                                                             on Apr 06, 2023 10:06 am
Case 1:23-cv-00142-BLW Document 79 Filed 04/18/23 Page 2 of 2
